          Case 6:21-cv-00474-AA        Document 59-2   Filed 08/11/21   Page 1 of 42




The LGBTQ+
Student
Divide
The State of Sexual and Gender
Minority Students at Taxpayer-Funded
Christian
  EXHIBIT B Colleges
                                                                           A report by
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A Religious Exemption Accountability                                               March 2021
Project/College Pulse Study
        Case 6:21-cv-00474-AA         Document 59-2       Filed 08/11/21     Page 2 of 42




ABOUT US
About COLLEGE PULSE

College Pulse is a survey research and analytics company dedicated to understanding the
attitudes, preferences, and behaviors of today’s college students. College Pulse offers custom
data-driven marketing and research solutions, utilizing its unique American College Student
Panel™ that includes over 485,000 undergraduate college student respondents from more than
1,500 two- and four-year colleges and universities in all 50 states.

For more information, visit https://collegepulse.com or College Pulse's official Twitter account
@CollegeInsights.

About the RELIGIOUS EXEMPTION ACCOUNTABILITY PROJECT (REAP)

REAP empowers queer, trans and non-binary students at religious colleges, universities and
schools where discrimination and abuse is practiced using taxpayer money. As a program
sponsored by the national nonprofit Soulforce, REAP elevates the experiences of sexual and
gender minority students through civil rights litigation, documentary film, oral history, research
and public policy.

For more information, visit www.thereap.org




EXHIBIT B                                                                                            2


                                                                                                         1
        Case 6:21-cv-00474-AA        Document 59-2       Filed 08/11/21     Page 3 of 42




EXECUTIVE SUMMARY
One-third of the more than 2,000 four-year undergraduate institutions in America are religiously
affiliated. Of those, more than 200 Christian colleges and universities, with a combined student
population nearing one million, explicitly discriminate against their LGBTQ+ students. This
discrimination directly affects hundreds of thousands of LGBTQ+ students at these Christian
colleges and universities. Data from a new survey reveals that 12% of students identify as
LGBTQ+, and nearly one-third (30%) of students at these Christian colleges and universities
describe experiencing some amount of non-heterosexual attraction or experience.

Students at today’s Christian colleges identify with a broad array of different sexualities and
gender identities, including bisexual, lesbian, gay, queer, same-sex attracted, asexual, non-
binary, intersex, agender, genderqueer, and transgender. This report refers to this broad array of
identities using the terms LGBTQ+ or sexual and gender minorities.

Results from this report reveal that sexual and gender minority students experience considerable
challenges because of how they identify. From their rates of self-reported depression, anxiety,
loneliness, suicidality, sexual assault and harassment, and substance abuse, to their inability to
be open about their sexuality or gender identity for fear of rejection and condemnation from
their campus community, sexual and gender minority students face significant obstacles that
create markedly different and inferior college experiences. Some sexual and gender minority
students face mandatory counselling, reparative therapy, and loss of campus privileges when
their identities are revealed to school administrators.

The Religious Exemption Accountability Project (REAP) commissioned College Pulse to
undertake a national poll of college student experiences on Christian colleges and universities to
better understand the experiences of LGBTQ+ students at these campuses. Conducted from
January 28 - February 6, 2021, findings from “The LGBTQ+ Student Divide: the State of Sexual
and Gender Minority Students at Taxpayer-Funded Christian Colleges” represent a sample of
3,000 full-time students currently enrolled in four-year degree programs at taxpayer-funded
Christian colleges and universities that explicitly discriminate against LGBTQ+ students, most of
which are members of the Council for Christian Colleges & Universities (CCCU). Students were
surveyed via the College Pulse mobile app and web portal, and weighted to be nationally
representative of Christian colleges and universities.




EXHIBIT B                                                                                       3


                                                                                                     2
        Case 6:21-cv-00474-AA        Document 59-2       Filed 08/11/21     Page 4 of 42



Key takeaways include:

   •   More than 1 in 10 students self-identify as a sexual minority. Among those who attend
       Christian colleges and universities, 12% of students self-identify as non-heterosexual.
       With a broader definition that encompasses self-identification and any attraction or
       experience that is not between a heterosexual female and a heterosexual male, the
       number of non-heterosexual students more than doubles to approximately 30%.

   •   Two percent of students identify as a gender minority. When asked to select their
       gender, 2% of students identify as either non-binary, genderqueer, agender,
       transgender, or non-cisgender.

   •   Most sexual and gender minority students are closeted. One in five (19%) sexual minority
       students report telling no one about their sexual or gender identity. More than half (56%)
       have only told five or fewer people.

   •   Nearly half of gender minority students say they do not feel like they belong on their
       campus.

   •   Gender minority students are seven times more likely to be sexually assaulted on their
       Christian campus than cisgender students (14% v. 2%).

   •   Sexual and gender minority students are 15 times more likely to report that their
       sexuality or gender identity has prevented them from feeling accepted by others on their
       college campus compared to their peers. They are also more likely to say that their
       gender or sexual identity has prevented them from holding leadership positions, living
       on campus, and joining campus groups compared to their straight peers.

   •   Sexual minority students are three times more likely to experience depression and
       anxiety compared to heterosexual students. They are also three times more likely to have
       seriously considered suicide or had an eating disorder, and twice as likely to report
       loneliness compared to their straight peers.

   •   Gender minority students are nearly five times more likely to experience bullying or
       harassment. Five percent (5%) of cisgender students report bullying or harassment, while
       1 in 5 (22%) gender minority students report bullying or harassment. Moreover, among
       students who have been bullied, 85% of those who self-identify as LGBTQ+ report that
       the bullying came from someone at their college or university.

   •   LGBTQ+ students explicitly identify their sexual or gender identity as the source of their
       depression. For example, 41% of both sexual and gender minority students say their



EXHIBIT B                                                                                        4


                                                                                                     3
        Case 6:21-cv-00474-AA         Document 59-2         Filed 08/11/21   Page 5 of 42



       sexual identity is the source of their depression.

   •   4 in 10 sexual minority students are uncomfortable with their sexual orientation on
       campus. Among the students who report being uncomfortable with their sexual
       orientation at their college, 21% report being extremely uncomfortable.

The report, “The LGBTQ+ Student Divide: The State of Sexual and Gender Minority Students at
Taxpayer-Funded Christian Colleges,” details the full findings on these issues and others related
to students’ gender identity and sexual orientation on Christian college campuses today. Sexual
and gender minority students’ responses show marked divides between the experiences of
LGBTQ+ students compared to their straight and cisgender peers. LGBTQ+ students
experience more adverse events, more isolation, and less inclusion on their campuses, leaving
them with starkly different mental health outcomes and college experiences than their straight
peers.




EXHIBIT B                                                                                      5


                                                                                                    4
           Case 6:21-cv-00474-AA                 Document 59-2             Filed 08/11/21           Page 6 of 42




I. LGBTQ+ STUDENT POPULATION SIZE
More than one in ten students identify as a sexual minority.

Findings from the survey demonstrate that more than 1 in 10 students (12%) self-identify as non-
heterosexual, that is, something other than straight1. While the majority (83%) of students in this
survey identify as straight, 6% of students identify as bisexual, 5% are unsure or questioning their
sexual identity, 2% of students identify as either gay or lesbian, and 2% identify as queer or
same-sex attracted.

Of course, there are many ways to understand sexuality in addition to how a person self-
identifies. Taking into account students who report same-sex attraction, a sexual experience with
a person of the same sex, or who identify as something other than straight, we find that the
percentage of students who are not strictly heterosexual is 30%.

Students in this survey clearly express angst over their sexual identities and their faith, as well as
the teachings of their colleges. Says one bisexual female student at Corban University:



           “I am not supposed to be what I am. Every day I live in sin just because I think the
           things I think. Christians talk about taking thoughts captive, dying to ourselves, putting
           off the old nature and putting on the new. I don't know how to do that with sexual
           orientation. I am convinced that the depths of who I am is sinful and abhorrent to God.
           I am also convinced God is real and I am required to live according to His laws. I don't
           want to think about my orientation because I'm worried people will think I'm a
           bandwagoner or making it up. Or worse, they will think I'm just a filthy sinner who has
           been corrupted by the world. There's no one on campus I'd trust to talk this through
           with them. I don't want to be called a worthless sinner any more than I already have.”




This survey also reveals a small portion of students at Christian colleges who do not identify as a
cisgender male or female, or do not report their gender identity aligning with the sex they were
assigned at birth. Results show that 2% of students report a gender identity other than a
cisgender “male” or “female,” with the most frequent category being “non-binary.” A small
portion of students (1%) opted not to disclose their gender identity.




1
 A recent study conducted by Gallup finds that 16% of people in Gen Z identify as something other than heterosexual
https://news.gallup.com/poll/329708/lgbt-identification-rises-latest-estimate.aspx




    EXHIBIT B                                                                                                         6


                                                                                                                          5
        Case 6:21-cv-00474-AA            Document 59-2         Filed 08/11/21       Page 7 of 42



Incidence Rate of Sexual Orientation and Gender Identity
More than 1 in 10 students attending a Christian College Identify as LGBTQ+




Results from this survey show that many sexual minority students have not shared their gender or
sexual identity widely with their peers on their college campus. For sexual minority students, 4 in
10 (39%) students have told two people or less about their sexual identity.

LGBTQ+ Students’ Sexual Identity on Campus
Few LGBTQ+ students are “out” to friends, faculty, or administrators on campus




Many students have not come out at all on campus, with 19% of students having chosen not to
disclose their sexual or gender identity to anyone at their college.


         “I feel very nervous to share the fact that I am not straight to anyone on campus. I feel
         that I will be judged. I’ve heard people say terrible things about the LGBTQ+
         community on campus that makes me feel unwelcome as someone who is part of the
         LGBTQ+ community.” –Female student, Southeastern University


Results show that 43% of sexual minority students report feeling uncomfortable, while only 38%
are comfortable, and 13% say that they are neither comfortable nor uncomfortable. There is a



EXHIBIT B                                                                                            7


                                                                                                         6
        Case 6:21-cv-00474-AA        Document 59-2       Filed 08/11/21    Page 8 of 42



similar story for gender minority students, with only 30% of gender minority students feeling
comfortable with their gender identity on campus, while 44% are uncomfortable.

Comfort with Sexual Identity on Campus
Four in ten sexual or gender minority students are uncomfortable with their sexual identity on
campus




EXHIBIT B                                                                                        8


                                                                                                     7
        Case 6:21-cv-00474-AA         Document 59-2       Filed 08/11/21     Page 9 of 42




II. THE GENDER MINORITY EXPERIENCE
Gender minority students have twice the adverse experiences as their fellow cisgender
students
Gender minority students are seven times as likely to have survived a sexual assault and are
five times more likely to have been bullied, harassed or contemplated suicide. Indeed, of the
11 items that this report analyzes (loneliness, anxiety, depression, suicidal thoughts, bullying
or harassment, alcohol use, drug or substance use, physical or sexual assault, sexual
harassment, or an eating disorder), results show that 39% of gender minority students
experienced four or more adverse conditions while only 16% of cisgender students
experienced four or more.

Number Of Adverse Experiences Among Cisgender And Gender Minority Students
Gender minority students are significantly more likely to have adverse experiences
compared to their straight peers




On average, gender minority students experience double the number of adverse experiences
compared to their cisgender peers (3.6, compared to 1.8). Similar to sexual minority students,
the types of adverse experiences gender minority students have most frequently include




EXHIBIT B                                                                                          9


                                                                                                       8
       Case 6:21-cv-00474-AA         Document 59-2      Filed 08/11/21     Page 10 of 42



anxiety, depression, and loneliness. Nearly 7 in 10 gender minority students report
experiencing loneliness (70%) or depression (65%). Similarly, about one-third of gender
minority students report having used alcohol (28%) or having had suicidal thoughts (29%)
during their time at their college. This stands in stark contrast to their cisgender peers, for
whom only 7% have seriously considered suicide. One in 5 (22%) gender minority students
report being bullied during their college experience, and the majority (73%) of these students
report the bullying coming from someone at their college.

Adverse Experiences Among Gender Minority and Cisgender Students
Gender minority students are significantly more likely to experience all harms compared to
their cisgender peers




EXHIBIT B                                                                                         10


                                                                                                       9
       Case 6:21-cv-00474-AA          Document 59-2         Filed 08/11/21      Page 11 of 42



Across the board, gender minority students report experiencing more of these harms compared
to their fellow cisgender students.

Odds Ratios for Adverse Events Experienced by Gender Minority Students
Gender minority students are nearly twice as likely to have negative personal experiences




Put another way, gender minority students are significantly more likely to report having these
negative experiences compared to their cisgender peers. For example, when it comes to sexual
assault, gender minority students are seven times more likely to report a sexual assault
compared to their fellow cisgender students. They are also five times more likely to report
having been bullied and to have seriously considered suicide. Regardless of the metric, gender
minority students report significantly more adverse events than students who identify with the
sex they were assigned at birth.


        “I feel extremely uncomfortable talking about my gender and sexual identity… I
        would definitely never recommend [my college] to anyone who was anything but a
        straight cis-gender person. I am also aware of an individual living on campus who is
        not allowed to live in the men’s dorms because he is a trans man.” — Questioning
        student, Roberts Wesleyan College




EXHIBIT B                                                                                       11


                                                                                                     10
        Case 6:21-cv-00474-AA           Document 59-2         Filed 08/11/21       Page 12 of 42



Gender minority students explicitly report that the cause of their depression, anxiety, and
loneliness is due to their gender identity. The table below shows that when it comes to
loneliness, about 3 in 10 (35%) gender minority students attribute their gender identity as one of
the main drivers of their loneliness. Similarly, students who identify as something other than their
birth sex report their gender identity as a contributor to their depression (39%) and anxiety
(27%). While other factors contribute to their loneliness or anxiety (for example, about 80% of
students report that academic stress contributes to their anxiety), gender minority students very
intentionally identify their gender identity as a source of their adverse experiences.

Sources of Loneliness, Depression, Anxiety and Bullying among Gender Minority and
Cisgender students
Gender identity directly contributes to feelings of loneliness, depression and anxiety




When it comes to bullying, one in five (22%) gender minority students report being bullied
during their college tenure, and 41% of these students report that their gender identity is a
contributor to the bullying they experienced.


         “I feel that discussing my gender identity] would definitely result in instant stigma and
         no degree of support or understanding.” — Demigirl student, Liberty University




EXHIBIT B                                                                                            12


                                                                                                          11
         Case 6:21-cv-00474-AA              Document 59-2          Filed 08/11/21        Page 13 of 42




III. THE SEXUAL MINORITY EXPERIENCE
LGBTQ+ students report wholly inferior college experiences than their straight peers
Prior research has shown that students face a significant amount of stress during their college
years.2 For many students, life during college includes increased academic workloads, living
away from home from the first time, and more financial and social pressure, in addition to
planning for their future careers. The results from this survey show, however, that sexual minority
students are more likely than their straight peers to have a range of stressful and harmful
experiences. Whether it is depression, anxiety, or an eating disorder, sexual minority students
are much more likely to report personal challenges during their college years.
This survey polled students on whether they had experienced any of the following 11 adverse
experiences during their time in college: loneliness, anxiety, depression, suicidal thoughts,
bullying or harassment, alcohol use, drug or substance use, physical or sexual assault, sexual
harassment, or an eating disorder.
More than one-third (36%) of straight students report not experiencing any adverse experiences
from this list. This number stands in stark contrast to sexual minority students — only 17% did
not select a single item. On average, sexual minority students report having an average of 3.2
adverse experiences, compared to their straight counterparts who experience an average of 1.7.

Reported Adverse Experiences by Straight and Sexual Minority Students
Sexual minority students are more likely to face more harms compared to straight peers




Of all these negative experiences, anxiety is the most frequent. Nearly three-quarters (73%) of
sexual minority students report feeling anxious at some point during their time at their college,
compared to nearly half (49%) of their straight peers who experience anxiety. Loneliness and

2
  ROSS, SHANNON E., et al. "SOURCES OF STRESS AMONG COLLEGE STUDENTS." College Student Journal, vol. 33, no. 2, 1999,
p. 312. Gale Academic OneFile




    EXHIBIT B                                                                                                    13


                                                                                                                        12
         Case 6:21-cv-00474-AA        Document 59-2       Filed 08/11/21    Page 14 of 42



 depression round out the top three negative experiences, with more than half (64% and 60%
 respectively) of LGBTQ+ students reporting feelings of loneliness or depression during their
 college career.

 Sexual minority students are also more likely to report experiencing harassment, bullying, and
 assault compared to their straight peers. Sexual minority students are more than twice as likely
 to report experiencing harassment and bullying and three times more likely to report having
 been the victim of sexual harassment or assault.

 Adverse Experiences Among LGBTQ+ and Straight Students
 Feelings of depression, anxiety and loneliness are more common among LGBTQ+ Students




The following chart presents these adverse experiences in terms of odds ratios for LGBTQ+ students
compared to heterosexual students. Odds ratios demonstrate how much more likely one outcome
(e.g., depression) is for one group compared to another. For example, results show that sexual minority
students are 3.7 times more likely than their straight peers to report using drugs or other substances,




  EXHIBIT B                                                                                     14


                                                                                                          13
            Case 6:21-cv-00474-AA                   Document 59-2   Filed 08/11/21   Page 15 of 42



and 3.6 times more likely to report having seriously considered suicide during their time at their
college.3

Odds Ratios for Adverse Events Experienced by Sexual Minority Students
LGBTQ+ students are more likely to have adverse experiences compared to straight peers.




Sexual minority students are three times more likely to experience an eating disorder or depression,
and nearly three times (2.8 times) as likely to report having been sexually harassed at their college
compared to straight students. LGBTQ+ students also report higher rates of sexual and physical
assault, anxiety, and loneliness compared to their straight peers. In fact, sexual minority students are at
more risk for every adverse experience this survey inquired about compared to their fellow straight
students.
The survey also investigated sources of these negative experiences among LGBTQ+ students. It asked
students to identify the aspects of their life that contributed to feelings of loneliness, depression, and
anxiety. Sexual minority and straight students reported that academic stress, stress from home, and
social stress all contributed to feelings of loneliness, depression, and anxiety. What is clear from the
table below, however, is that LGBTQ+ students report their sexual identity is a key driver. Significant
numbers of LGBTQ+ students say their sexual or gender identity is an important reason they feel lonely
(48%), depressed (41%), or anxious (35%) at their college. For example, this female student from
Wheaton College reflects on her experience navigating her sexual identity on campus:



 3 Results hold after controlling for race and gender.




  EXHIBIT B                                                                                          15


                                                                                                              14
       Case 6:21-cv-00474-AA           Document 59-2         Filed 08/11/21      Page 16 of 42




        “Being queer at Wheaton College, even just trying to figure out my sexuality and my
        feelings, has made me feel extremely on edge almost always, especially around
        people who I fear may verbally harass me for my sexual orientation. Trying to navigate
        romantic feelings for a woman in this community culture has been one of the biggest
        contributors to my depression and anxiety. I understand the schools’ need to include
        same-sex marriage as unacceptable in the community covenant because they are a
        Christian school and depend on donors who are anti-LGBTQ+, but it is disgustingly
        unfair that straight individuals are able to figure out relationships in open spaces and
        with Christian counselors and friends to talk to and be open with and to help them
        navigate relationships, and that I was unable to do that and instead had to live in
        secrecy and fear of reprimand for feelings of agape love that I had towards a woman.”


Sources Of Loneliness, Depression, Anxiety And Bullying Among Sexual Minority And Straight
Students
Sexual and gender identity are sources of stress for sexual minority students




For students who report being bullied, 62% of sexual minority students report that one of the
reasons they were bullied was due to their sexual identity. Of those sexual minority students who
were bullied, 86% report that the bullying they experienced was perpetrated by someone at
their college.




EXHIBIT B                                                                                          16


                                                                                                        15
       Case 6:21-cv-00474-AA        Document 59-2       Filed 08/11/21    Page 17 of 42




EXPLORING THE GENDER GAP
LGBTQ+ women have inferior college experiences compared to straight, male peers

We can sometimes lose sight of the gaps in experiences when we take them piecemeal. Any
single metric for health, well-being, exclusion or success does not provide a complete picture,
but the variety of different questions designed to identify challenges faced by LGBTQ+
students provides a distinct pattern. LGBTQ+ students have very different college experiences
from straight students. However, the experience gap is even wider when we consider the
experiences of sexual minority females and their straight male peers.

When it comes to the adverse experiences that students have at college, we see that LGBTQ+
females report anxiety and depression at twice the rate of their straight male peers. Sexual
minority females are also much more likely than their heterosexual male peers to report
loneliness or isolation during their college years (63% vs. 40%), and specifically, these women
call out that their loneliness is due to their sexual (47%) and gender identity (10%).

LGBTQ+ women are also particularly vulnerable to sexually aggressive acts, such as assault or
harassment and experience such acts at significantly higher rates than their heterosexual male
peers.

Adverse Events Experienced by Straight Men and Women of Sexual Minority
Women of sexual minority are significantly more likely to have inferior experiences during
college compared to straight men




EXHIBIT B                                                                                        17


                                                                                                      16
       Case 6:21-cv-00474-AA         Document 59-2       Filed 08/11/21    Page 18 of 42




LGBTQ+ women also experience significantly inferior college campus experiences compared to
their straight male peers. For example, 43% of sexual minority females report that their sexual or
gender identity has prevented them from feeling accepted on their college campus, and 23%
agree that their sexual or gender identity has prevented them from dating who they want to.
About 1 in 12 LGBTQ+ females report that their gender or sexual identity has prevented them
from living on campus and holding leadership positions on campus.




EXHIBIT B                                                                                      18


                                                                                                     17
        Case 6:21-cv-00474-AA         Document 59-2       Filed 08/11/21     Page 19 of 42




IV. SENSE OF BELONGING
Nearly half (47%) of gender minority students feel that they don’t belong at their Christian
college

When it comes to their experiences in their classrooms and engaging in dialogue with their
professors, straight students on Christian college campuses overwhelmingly believe (81%) that
their professors are supportive of students of diverse racial and ethnic backgrounds. Half (50%)
of sexual minority students agree that their professors are supportive of students of different
faiths. However, there is a stark divide in the assessment of perceived acceptance of LGBTQ+
students on college campuses. For example, 52% of sexual minority students report that
students are treated differently as a result of students’ sexual orientation. Straight students have
a considerably different view, with only 23% of straight students agreeing that their peers are
treated differently as a result of their sexual orientation. A similar trend is present for sexual
minority students who are more likely to report that students are treated differently based on
gender identity compared to their straight peers (44% vs. 18%).


Sense of Belonging Among Sexual Minority and Straight Students
LGBTQ+ students less likely to feel supported by their university compared to their straight
peers




EXHIBIT B                                                                                         19


                                                                                                       18
        Case 6:21-cv-00474-AA          Document 59-2         Filed 08/11/21      Page 20 of 42



Results also show significant divergence between sexual minority and straight students. Students
were asked to state their level of agreement with how much they feel as though they are
welcome and included on their campus. Approximately 3 in 10 (29%) LGBTQ+ students say they
feel as though they do not belong on campus. In comparison, only 17% of straight students feel
the same. Gender minority students are most likely to feel as though they don’t belong, with
almost half (47%) saying so.
Sexual and gender minority students are also less likely to feel welcomed in the classroom. One
in 3 (31%) LGBTQ+ students feel comfortable sharing their opinions in the classroom, compared
to 42% of straight students. Students identifying as a gender minority are significantly more
likely to feel uncomfortable sharing their opinions in class compared to their cisgender peers,
with half (50%) saying so. Heterosexual students (52%) are more likely to feel as though their
perspectives are welcome in class, with only 31% of LGBTQ+ students agreeing with this
sentiment.


         “I have often experienced that people will [look] down on me for mentioning any
         queer-related activity. I am a female-presenting person with a boyfriend. However in
         the past I have had more explicitly queer relationships. I have been outed for this by
         some non-accepting individuals. It has made it difficult to get along with others and it
         drove me out of my dorm. I feel safe as long as no one knows.” — Non-binary student,
         Houston Baptist University




Students self-identifying as a gender minority are also most likely to feel like outsiders on their
campus. Aside from not feeling as welcomed in the classroom compared to their cisgender
classmates, sexual minority students are also more likely to feel unsafe on their campus
compared to cisgender peers (41% vs. 68%).

In terms of being prepared for life beyond college, LGBTQ+ students are about as likely to say
that they are likely to graduate from their college compared to straight students (78% vs. 81%).
But gender minority students are much less likely to agree, with only 54% believing they will
graduate from their college. Gender minority students are also far less likely to agree that their
college is preparing them well for life after graduation compared to their straight peers (22% vs.
56%).




EXHIBIT B                                                                                           20


                                                                                                         19
        Case 6:21-cv-00474-AA          Document 59-2        Filed 08/11/21     Page 21 of 42




Level of Perceived Support from College
Gender minority students are less likely to feel supported by their college compared to
both sexual minority and straight students




Gender and sexual minority students are significantly less likely to agree that they belong on
their college campus

A major aspect of the college experience and personal growth occurs outside of the classroom.
When it comes to critical facets of college life, such as socializing, intramural activities, and daily
living arrangements, LGBTQ+ students are much more likely to report feeling limited—that their
gender or sexual identity has prevented them from fully experiencing college. For example,
more than 4 in 10 (43%) LGBTQ+ students report that their gender or sexual identity has
prevented them from feeling accepted by others at their college, and one-quarter (25%) of
sexual minority students report that they are unable to date who they want to at their college.
About 1 in 10 (12%) sexual minority students also report that they are unable to join clubs on
campus. The theme of feeling unwelcome or feeling restricted from participating in on-campus
organizations, and clubs, features prominently:


         “[I] feel unwelcomed by professors and staff. An LGBTQIA+ club was not supported by
         [our] institution. Protest was held by students.” — Bisexual female, Asuza Pacific
         University



EXHIBIT B                                                                                           21


                                                                                                          20
       Case 6:21-cv-00474-AA          Document 59-2         Filed 08/11/21      Page 22 of 42



        “I think that Baylor University does an awful job as a school to make their LGBTQIA+
        students feel safe and welcomed. Not only do they refuse to charter the Baylor GAY
        club, which is unfair because it is about representation, but they also have not changed
        their Human Sexuality statement. Because of the person I am, I am proud to be a
        lesbian and am very open about it. However mostly everyone else I know who is also
        LGBTQIA+ here does not feel the same way. I still feel discriminated against and it
        hurts.” — Lesbian student, Baylor

        “The LGBT+ club has more restrictions than other clubs and the religious atmosphere
        promotes discrimination by the students and through the higher-up campus
        institutions. Overall I would not recommend [this school] to those questioning their
        gender or sexual identity.” — Lesbian student, Pepperdine University


On-Campus Participation Among Sexual Minority Students
Sexual minority students are significantly more likely to report that their gender or sexual
identity prevents them from participating fully in campus life




EXHIBIT B                                                                                          22


                                                                                                        21
       Case 6:21-cv-00474-AA           Document 59-2         Filed 08/11/21      Page 23 of 42



On Campus Participation Among Sexual Minority, Gender Minority, And Straight Students
Sexual and gender minority students more likely to report not being able to fully
participate in college life than their heterosexual and cisgender peers




Gender minority students are nearly 20 times more likely to report that their sexual or gender
identity prevented them from dating the person that they want to compared to their cisgender
peers, and 17 times more likely to say that their identity has prevented them from feeling
accepted at their college. Gender minority students are nearly 10 times more likely to report that
their gender has held them back from participating in campus life, such as joining clubs on
campus or becoming an officer in one, compared to cisgender students.


        “I am a gay woman (she/they) and a senior in undergrad. I entered into undergrad as a
        [closeted] gay ministry major but soon found that I was definitely not going to receive
        any support were I to come out to my ministry friends. 90% of my Bible professors
        talked openly about homosexuality being a ‘sin’ and I just had to sit there and listen to
        the class discuss whether or not I deserve rights. It was awful. Then I switched to being
        an education major with a concentration in English.” — Lesbian and Polyamorous
        student, Hope International University




EXHIBIT B                                                                                           23


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       Case 6:21-cv-00474-AA         Document 59-2      Filed 08/11/21     Page 24 of 42



On-Campus Participation Among Gender Minority Students
Gender minority students are significantly more likely to report that their gender or sexual
identity prevents them from partaking in on-campus activities




On a very deep and visceral level, sexual and gender minority students report that they are less
likely to fully participate in campus life. They also feel less supported by the campus community
and administration. Nearly half (48%) of straight students say their college supports them, while
only about one-third (36%) of LGBTQ+ students say the same.




EXHIBIT B                                                                                      24


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        Case 6:21-cv-00474-AA         Document 59-2        Filed 08/11/21     Page 25 of 42




V. UNIVERSITY SANCTIONS
Gender and sexual minority students are more likely to face university sanctions for their
sexual or gender identity

When asked whether or not their college or university had ever taken formal actions against
them for their sexual or gender identity, the majority of gender and sexual minority students
report this has not happened. Nine in 10 (91%) straight students report that their college has not
taken any action against them in regards to their sexual or gender identity. However, among
sexual minority students, that number decreases to 88%. Similarly, gender minority students are
more likely to say their college or university has taken action against them due to their sexual or
gender identity, with only three-quarters (73%) of students saying they faced no repercussions.


University-led Discipline due to Sexual or Gender Identity
Sexual and gender minority students face suggested counseling from their college because
of their sexual or gender identity




For students who have faced disciplinary action for their gender or sexual identity, the most
common action they faced was counseling suggested by the school. About 6% of students
identifying as sexual minorities report that their college or university suggested counseling in
regards to their sexual orientation or gender identity, while gender minority students (8%) are
about as likely to say the same.

In fact, gender minority students are the most likely to report facing all of the disciplinary actions
listed in the survey. Among students who have faced disciplinary action related to their gender
or sexual identity, 7% of gender minority students say their school suggested gender identity



EXHIBIT B                                                                                          25


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        Case 6:21-cv-00474-AA          Document 59-2        Filed 08/11/21      Page 26 of 42



change efforts. Gender minority students are also twice as likely as sexual minority students to
say their school suggested sexual orientation change efforts (8% vs. 4%), and three times as
likely to say their school required sexual orientation change efforts (3% vs. 1%).

It is worth noting that reports of university sanctions may be slightly depressed, for students fear
the consequences of what would happen to their status if their gender or sexual identity should
be revealed. For many LGBTQ+ students whose identity is not known on campus, concealing
their true identity is a strategy to preserve their housing, scholarships or even the ability to
attend their college. Says one closeted student,



         “I feel no support whatsoever and feel physically unsafe if it were to become public
         knowledge. I only share my orientation to those that I know for sure are also LGBT+. I
         have overheard people saying, "hang the f*gs and let them burn." I have several
         friends forced into the wrong gender dorms and there have been multiple classes that
         have entire units condemning anyone not cisgender and straight. I know this will not
         change. I do not have the money to move out of state and receive good scholarships
         from the university.” — Questioning student, Liberty University




EXHIBIT B                                                                                         26


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        Case 6:21-cv-00474-AA         Document 59-2        Filed 08/11/21     Page 27 of 42




CONCLUSION
LGBTQ+ students are a significant part of the student body of every college and university,
including at taxpayer-funded religious colleges and universities where they are explicitly
discriminated against. The survey data reveal stark contrasts in mental health and student
experience outcomes for sexual and gender minority students at these institutions.

Every student deserves a safe campus environment in which to learn and grow. Every parent
wants this for their child, and every child needs this in order to flourish. Unfortunately, Christian
colleges and universities that explicitly discriminate against LGBTQ+ students are not providing
a safe campus environment for a large percentage of their student body. A review of campus
policies and procedures by higher education leaders, administrators, policymakers and
accreditation bodies may lead to more safe and affirming campus climates for this vulnerable
student population.

Moreover, the experiences of sexual and gender minority students at taxpayer-funded religious
colleges and universities may have important implications for religious exemptions to civil rights
statutes like Title IX and the debates surrounding the Equality Act.




EXHIBIT B                                                                                          27


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        Case 6:21-cv-00474-AA        Document 59-2       Filed 08/11/21     Page 28 of 42




METHODOLOGY
The survey was designed and conducted by College Pulse at the request of the Religious
Exemption Accountability Project. The survey was fielded January 28 - February 6, 2021 and
comes from a sample of 3,000 undergraduates who are currently enrolled full-time in four-year
degree programs at taxpayer-funded Christian colleges and universities, most of which are
members of the Council for Christian Colleges and Universities (CCCU). The students from this
sample come from 134 universities in the United States. The margin of error for the U.S.
undergraduate population is +/- 1 percentage point, and the margin of error for college student
sub-demographics range from 2-5 percentage points. The final data set was weighted to ensure
that the demographic characteristics of the sample closely approximate the demographic
characteristics of the target populations using the Current Population Survey (CPS) and other
benchmarks.
The initial sample was drawn from College Pulse’s American College Student Panel™ that
includes more than 485,000 verified undergraduate students representing more than 1,000 two-
and four-year colleges and universities in all 50 states. Panel members are recruited by a number
of methods to help ensure student diversity in the panel population, including web advertising,
permission-based email campaigns, and partnerships with university-affiliated organizations.
College Pulse uses a two-stage validation process to ensure that all its surveys include only
students currently enrolled in four-year colleges or universities. Students are required to provide
an .edu email address to join the panel and verify that they are currently enrolled either part-
time or full-time in a two- or four-year degree program. All invitations to complete surveys are
sent using the student’s .edu email address or through notification in the College Pulse App that
is available on iOS and Android platforms.
We apply a post-stratification adjustment based on demographic distributions from multiple
data sources, including the 2017 Current Population Survey (CPS), the 2016 National
Postsecondary Student Aid Study (NPSAS), and the 2017-18 Integrated Postsecondary
Education Data System (IPEDS). The post-stratification weight rebalances the sample based on a
number of important benchmark attributes, such as race, gender, class year, voter registration
status, and financial aid status. The sample weighting is accomplished using an iterative
proportional fitting (IFP) process that simultaneously balances the distributions of all variables.
Weights are trimmed to prevent individual interviews from having too much influence on the
final results.
The use of these weights in statistical analysis ensures that the demographic characteristics of
the sample closely approximate the demographic characteristics of the target populations. Even
with these adjustments, surveys may be subject to error or bias due to question wording,
context, and order effects.

For more information on our methodology, please visit https://collegepulse.com/methodology.



EXHIBIT B                                                                                       28


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             Case 6:21-cv-00474-AA    Document 59-2     Filed 08/11/21    Page 29 of 42




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                        ,       *E#  
                       0,       '# 




%&'(  @ '" !?
      EXHIBIT B                                                                                             34
                
  )&* (      @W#
              Case 6:21-cv-00474-AA        Document .59-2       Filed 08/11/21      Page 35 of 42




                         ,       
                         ,      


        3      ?   / " "   "  %
                   : ;'   <
                       "   "$
                     5 8 @" D   D  D?  #  &&'((
                        %    ":D
                     5 8 ?  " D- D  D*E#  D  DC # %
                        ?   / " "       
                     :D

                      32,       @# 
                      / ,       ' # #
                       2,         >
                       0,        > 
                       .,        % >% 
                      3 ,       ' 
                       /,         #  58 
                       2,       K##>##
                      /0,        
                      /.,       # ##
                       .,       *E#  
                        ,       I
                        ,         

        2      C # %  ?   / " "
                      :
                       "   "$
                     5 8 @" D?D  D?  #  &&'((   
                     %    ":D

                        .,      - 
                        +,       




%&'(  @ '" !?
      EXHIBIT B                                                                                             35
                
  )&* (      @W#
              Case 6:21-cv-00474-AA       Document +59-2       Filed 08/11/21     Page 36 of 42




                      01,       '##
                        ,       I
                       1,       J 
                        ,       *E#  
                        ,         
                        ,       


        .      ?   / "      "   
                 % " : ;'       <
                       "   "$
                     5 8 @" D?D  D?  #  &&'((   
                     %    ":D
                     5 8 ?  " D- D  D*E#  D  DC # %
                      ?   / " "      :
                     D

                      3+,       @# 
                      1/,       ' # #
                       .,         >
                       0,        > 
                       +,        % >% 
                      3 ,       ' 
                       2,         #  58 
                      0/,       K##>##
                      1 ,        
                      /1,       # ##
                       +,       *E#  
                       +,       I
                        ,         

        +      C # % % ?   / " " 
                    % %:
                       "   "$
                     5 8 @" D@%D  D?  #  &&'((   




%&'(  @ '" !?
      EXHIBIT B                                                                                      36
                
  )&* (      @W#
             Case 6:21-cv-00474-AA       Document 59-2       Filed 08/11/21     Page 37 of 42




                    %    ":D

                       /,      - 
                       0,        
                      0 ,      '##
                       2,      I
                       /,      J 
                        ,      *E#  
                        ,        
                        ,      


              ?   / "      "   
                % " %: ;'   0 <
                      "   "$
                    5 8 @" D@%D  D?  #  &&'((   
                    %    ":D
                    5 8 ?  " D- D  D*E#  D  DC # %
                    % ?   / " "     % %:
                    D

                      . ,      @# 
                      /.,      ' # #
                       3,        >
                       0,       > 
                       2,       % >% 
                      1.,      ' 
                       0,        #  58 
                      01,      K##>##
                      /2,       
                      1 ,      # ##
                       3,      *E#  
                       .,      I
                        ,        

       



%&'(  @ '" !?
      EXHIBIT B                                                                                   37
                
  )&* (    @W#
              Case 6:21-cv-00474-AA       Document 59-2        Filed 08/11/21      Page 38 of 42




                 ?    "         5
                   8: 9    % *#
                     #
                       "   "$
                     5 8 @" DA    5    8D  D?
                      #  &&'((    %    ":D

                       1,       - 
                      00,         
                      02,       '##
                       .,       I
                       1,       J 
                        ,       *E#  
                        ,         
                        ,       


               ?    # # # #   :
                       "   "$
                     5 8 @" DA    5    8D  D?
                      #  &&'((    %    ":D
                     5 8 ?  " D- D  D*E#  D  D?    " 
                            5   8: 9  
                      % *#     #D

                      2.,       C
                       0,       -
                        ,       *E#  
                        ,         
                        ,       


        0      ?    "   "  %  
                 # 5   8: ;'   2 <
                       "   "$
                     5 8 @" DA    5    8D  D?
                      #  &&'((    %    ":D




%&'(  @ '" !?
      EXHIBIT B                                                                                         38
                
  )&* (      @W#
              Case 6:21-cv-00474-AA       Document 59-2        Filed 08/11/21     Page 39 of 42




                     5 8 ?  " D- D  D*E#  D  D?    " 
                            5   8: 9  
                      % *#     #D

                          ,       >
                         +,      > 
                         2,      % >% 
                        01,     *E#  
                        03,     I
                          ,       

        /      ?      %      # 
                    "   : ;'   0 <

                    ,      6     
                    ,          "
                   0,      L 
                   1,      ?    " 
                   .,            
                    ,      L  
                    ,      A#  M      # 
                 
                    ,      !    #
                    ,      !    #
                    ,      4   ##   
                   0,       #   
                    ,      N   #
                    ,      '# 
                  .3,      -  
                    ,        

        1      ?        # "    :

                  11,     * O#    #




%&'(  @ '" !?
      EXHIBIT B                                                                                         39
                
  )&* (      @W#
              Case 6:21-cv-00474-AA             0
                                       Document 59-2     Filed 08/11/21   Page 40 of 42




                   +,     * =O#    #>#>
                     ,    * # E  E #
                     ,    *  #    # ##    
                  P ,     *    # 
                  P ,     *  #  
                  P ,     *    #    
                  P ,     *          5  7  
                 " = 8
                     ,    '# 
                     ,      
                     ,    


        3      4"         :

                  2 ,     J 
                    ,     '#" 
                   /,     '#" 
                   0,     J 
                    ,     *E#  
                    ,       
                    ,     


        2      !  =   %     F
                 #    :

                  /2,     * #    #
                   2,     * # #   #
                   0,     * # H   #  "#
                   /,     * # #   "#
                  0/,     * #    "#
                    ,     G         " * #  
                  P ,     * #   O> 
                    ,     * #  




%&'(  @ '" !?
      EXHIBIT B                                                                            40
                
  )&* (      @W#
              Case 6:21-cv-00474-AA             /
                                       Document 59-2    Filed 08/11/21    Page 41 of 42




                    ,      
                    ,     


        .      ?   " "#     % : ;'   +
                 <

                  /2,     *      % 
                    ,     F#
                   3,     
                  P ,      "#
                  P ,      #
                    ,     -O  
                  P ,     I  
                   +,     * E  # 
                    ,       

        +      F   % : ;'   0 <

                    ,     @%
                   3,     A%
                    ,     G
                  ./,     ' 54%8
                    ,     N
                    ,     !%
                    ,     '# % 
                  P ,     !#
                    ,     
                    ,     
                   0,     * #    # % 
                    ,     *  # %   #  "
                   /,     * E  # 
                    ,       

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      EXHIBIT B                                                                             41
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    Case 6:21-cv-00474-AA   Document 59-2   Filed 08/11/21   Page 42 of 42




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EXHIBIT B                                                                    42
